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 DEFENDANT:            Sara Sanchez

 YOB:                  1984

 COMPLAINT             ______ Yes      __X____ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER_____________

 HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                        ________ Yes   _______ No
  If No, a new warrant is required

 OFFENSES:             Count 9: Student Loan Fraud, 20 U.S.C. § 1097(a)

 LOCATION OF           Adams County, Colorado
 OFFENSE:

 PENALTY:              Student Loan Fraud (Count 9): NMT five years imprisonment and/or NMT
                       $20,000 fine; NMT three years supervised release; $100 special assessment

 AGENT:                Dana McKay, Dep’t of Education OIG
                       Charlie Beans, U.S. Secret Service

 AUTHORIZED
 BY:                   Daniel E. Burrows, Special Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:

 X five days or less          ____ over five days           ____ other

THE GOVERNMENT

      will seek detention in this case based on 18 U.S.C. § 3142(f)([1 or 2])
____X__ will not seek detention

The statutory presumption of detention is not applicable to this defendant.

OCDETF CASE:             Yes X No




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